Case 1:19-mj-00074-STV Document 1 Filed 03/21/19 USDC Colorado Page 1 of 3




                                                                     FILED
                                                          UNITED STATES DISTRICT COURT
                                                               DENVER, COLORADO
                                                                  9:51 am, Mar 21, 2019

                                                           JEFFREY P. COLWELL, CLERK



                                    DISTRICT OF CO CASE # 19-mj-00074-STV
Case 1:19-mj-00074-STV Document 1 Filed 03/21/19 USDC Colorado Page 2 of 3




                                                                   FILED
                                                        UNITED STATES DISTRICT COURT
                                                             DENVER, COLORADO
                                                                9:52 am, Mar 21, 2019

                                                         JEFFREY P. COLWELL, CLERK



                                          DISTRICT OF CO CASE # 19-mj-00074-STV
Case 1:19-mj-00074-STV Document 1 Filed 03/21/19 USDC Colorado Page 3 of 3
